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                                  EXHIBIT I
                   Detailed Expense Records for Jenner & Block
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              February 2020
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                                      JENNER & BLOCK LLP
                                               353 N. Clark Street
                                          CHICAGO, ILLINOIS 60654-3456
                                                (312) 222-9350




EXPENSES                                                                    MATTER NUMBER - 10113

  1/29/20   12/31/2019 Quarterly Pacer Charge                                                 4.90
  1/29/20   12/31/2019 Quarterly Pacer Charge                                                17.80
  1/29/20   12/31/2019 Quarterly Pacer Charge                                                 1.70
  2/03/20   Color Copy                                                                        6.00
  2/03/20   B&W Copy                                                                          3.50
  2/03/20   B&W Copy                                                                          5.90
  2/04/20   B&W Copy                                                                         18.70
  2/05/20   B&W Copy                                                                          8.60
  2/05/20   B&W Copy                                                                         19.40
  2/06/20   Color Copy                                                                        5.00
  2/06/20   B&W Copy                                                                         15.50
  2/07/20   Color Copy                                                                        3.00
  2/07/20   B&W Copy                                                                          4.50
  2/07/20   B&W Copy                                                                         76.50
  2/08/20   B&W Copy                                                                           .30
  2/08/20   02/08/2020 UPS Delivery Service 1Z6134380198319010                               32.41
  2/10/20   B&W Copy                                                                         51.50
  2/10/20   B&W Copy                                                                          8.40
  2/11/20   B&W Copy                                                                          1.00
  2/12/20   Other Professional Services; TRANSPERFECT TRANSLATIONS                        5,365.00
            INTERNATIONAL; 02/12/2020; Spanish/English Translation 2/6/20.
  2/12/20   B&W Copy                                                                         4.00
  2/17/20   Economy Airfare, ROBERT D. GORDON, 02/11-13/2020; San Juan,                    544.00
            Puerto Rico; attend meeting (To San Juan, PR $300; from San Juan, PR
            $244.00).
  2/17/20   Inflight wifi, ROBERT D. GORDON, 02/11-13/2020; San Juan ,Puerto Rico;             20.00
            attend meeting
  2/17/20   Boardroom rental, catering, PSAV equipment and parking fees, ROBERT           3,741.57
            D. GORDON, 02/13/2020; San Juan, Puerto Rico; attend meeting.
  2/17/20   B&W Copy                                                                        143.70
  2/18/20   Postage Expense                                                                  67.05
  2/18/20   Color Copy                                                                        6.75
  2/18/20   Color Copy                                                                        5.75
  2/18/20   B&W Copy                                                                         21.70
  2/18/20   B&W Copy                                                                         12.20
  2/18/20   B&W Copy                                                                         15.20
  2/18/20   02/18/2020 UPS Delivery Service 1Z6134380190823515                                7.94
  2/18/20   02/18/2020 UPS Delivery Service 1Z6134380193168522                               19.63




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                                     JENNER & BLOCK LLP
                                              353 N. Clark Street
                                         CHICAGO, ILLINOIS 60654-3456
                                               (312) 222-9350




2/19/20   Other Professional Services; TRANSPERFECT TRANSLATIONS                        995.00
          INTERNATIONAL; 02/19/2020; Interpreter fee to translate from English to
          Spanish at a meeting of th Committee of Retirees.
2/19/20   Other Professional Services; ALIX PARTNERS LLP; 02/19/2020; Relativity       3,124.50
          Vendor invoice for services 1/1/20-1/31/20.
2/19/20   Lodging expense for Juan Ortiz, ROBERT D. GORDON, 02/12/2020; San             300.00
          Juan, PR; attend meeting.
2/19/20   Lodging, ROBERT D. GORDON, 02/13/2020; San Juan, PR; attend                   300.00
          meeting
2/19/20   Color Copy                                                                     12.25
2/19/20   B&W Copy                                                                      152.70
2/19/20   B&W Copy                                                                         .50
2/20/20   Taxis, ROBERT D. GORDON, 02/11-13/2020; San Juan, PR; attend                  171.08
          meeting. (2/11/20 - $72.81 (NYC), 2/11/20 - $25.00, 2/13/20 - $13.97,
          2/13/20 - $60.00 (NYC)).
2/20/20   Meal, ROBERT D. GORDON, 02/11-13/2020; San Juan, PR; attend                   167.61
          meeting. (2/11/20 - $25.91, 2/11/20 - $40.00, 2/12/20 - $101.60 (R.
          Gordon, H. Mayol, S. Gumbs, F. del Castillo).
2/20/20   Economy airfare, ROBERT D. GORDON, 02/24-25/2020; San Juan, PR;               485.00
          attend meeting.
2/20/20   B&W Copy                                                                       41.20
2/21/20   Inflight wifi, MELISSA M. ROOT, 02/20/2020; New York, NY; hearing.             14.99
2/21/20   Taxi, MELISSA M. ROOT, 02/20/2020; New York, NY; hearing. (2/20/20 -          138.49
          $30.08, 2/20/20 - $49.63, 2/20/20 - $58.78)
2/21/20   Economy airfare, MELISSA M. ROOT, 02/20/2020; New York, NY; hearing.          960.80
2/21/20   B&W Copy                                                                       43.10
2/24/20   Economy airfare, ROBERT D. GORDON, 03/03-05/2020; San Juan , PR;              215.00
          attend meeting.
2/24/20   Color Copy                                                                      27.00
2/24/20   B&W Copy                                                                       619.10
2/24/20   B&W Copy                                                                       172.10
2/25/20   B&W Copy                                                                        51.30
2/27/20   Soundpath Teleconferencing 01/13/2020                                           10.53
2/27/20   Soundpath Teleconferencing 02/10/2020                                           10.74
2/27/20   Soundpath Teleconferencing 01/27/2020                                           14.31
2/27/20   Soundpath Teleconferencing 01/24/2020                                           33.78
2/27/20   Soundpath Teleconferencing 02/12/2020                                          112.58
2/27/20   B&W Copy                                                                         2.60
2/27/20   B&W Copy                                                                        51.30
2/28/20   B&W Copy                                                                         6.40
2/29/20   Westlaw Research                                                             1,059.52
2/29/20   Westlaw Research                                                                27.69
2/29/20   Westlaw Research                                                                86.42



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                                 JENNER & BLOCK LLP
                                         353 N. Clark Street
                                    CHICAGO, ILLINOIS 60654-3456
                                          (312) 222-9350




          TOTAL DISBURSEMENTS                                                  $ 19,666.69

MATTER 10113 TOTAL                                                             $ 19,666.69




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                                JENNER & BLOCK LLP
                                               353 N. Clark Street
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                                                 (312) 222-9350




EXPENSES                                                                   MATTER NUMBER - 10113


  2/21/20   Business Meals M36528 Conducted by Puerto Rico                                  21.30
  3/02/20   Color Copy                                                                      16.25
  3/02/20   B&W Copy                                                                     2,725.20
  3/02/20   03/02/2020 UPS Delivery Service 1Z6134380190344275                              40.83
  3/03/20   B&W Copy                                                                       776.90
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380195222343                              45.32
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380195513609                              48.63
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380195727432                              44.00
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380195841246                              50.95
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380196069651                              41.69
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380197048663                              56.58
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380197849299                              32.17
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380199174273                              46.32
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380199202483                              34.90
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380199252223                              46.32
  3/03/20   03/03/2020 UPS Delivery Service 1Z6134380199499619                              43.12
  3/04/20   Court Fees, ELAN CORPORATE PAYMENT SYSTEMS, 03/04/ 2020                         70.00
  3/04/20   Color Copy                                                                       1.00
  3/04/20   Color Copy                                                                      18.75
  3/04/20   B&W Copy                                                                       102.80
  3/04/20   B&W Copy                                                                       111.30
  3/04/20   03/04/2020 UPS Delivery Service 1Z6134381599768918                             493.77
  3/05/20   Taxi (3/3/20), CATHERINE L. STEEGE, 03/02-03/2020; Boston, MA; 1st              60.00
            Circuit Argument.
  3/05/20   Taxis, (3/2 - $60.00 and $22.00) CATHERINE L. STEEGE, 03/02-03/2020;              82.00
            Boston, MA; 1st Circuit Argument.
  3/05/20   Meal, CATHERINE L. STEEGE, 03/02-03/2020; Boston, MA; 1st Circuit                 10.51
            Argument.
  3/05/20   Lodging, CATHERINE L. STEEGE, 03/02-03/2020; Boston, MA; 1st Circuit          228.75
            Argument.
  3/05/20   Economy airfare, CATHERINE L. STEEGE, 03/02-03/2020; Boston, MA;              421.82
            1st Circuit Argument.
  3/09/20   Internet connectivity, MELISSA M. ROOT, 03/04-05/2020; NY, NY;                    16.00
            meeting/hearing.
  3/09/20   Taxis (3/4 - $33.55 and $49.70; 3/5 - $55.70 and $55.10), MELISSA M.          193.65
            ROOT, 03/04-05/2020; NY, NY; meeting/hearing.
  3/09/20   Meal for M. Root and L. Pelanek, MELISSA M. ROOT, 03/04-05/2020; NY,              80.00
            NY; meeting/hearing.
  3/09/20   Lodging, MELISSA M. ROOT, 03/04-05/2020; NY, NY; meeting/hearing.             351.19



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3/09/20   Economy airfare, MELISSA M. ROOT, 03/04-05/2020; NY, NY;                            588.80
          meeting/hearing.
3/09/20   Taxis (2/28 $34.27 and $50.00), MELISSA M. ROOT, 02/28/2020; NY,NY;                     84.27
          hearing.
3/09/20   Economy airfare and change fee, MELISSA M. ROOT, 02/28/2020;                        919.80
          NY,NY; hearing.
3/10/20   Sunnys Worldwide Car Service for Melissa Root on 02/20/2020 from                        84.83
          LaGuardia Airport to New York NY 10036
3/10/20   Sunnys Worldwide Car Service for Melissa Root on 02/28/2020 from                        84.83
          LaGuardia Airport to New York NY 10036
3/10/20   Taxis (3/4 - $30.73, $12.96; 3/5 - $12/36; 3/7 - $31.93, $57.00, LAURA E.           144.98
          PELANEK, 03/04-07/2020; NY, NY; ERS Bondholder depositions.
3/10/20   Lodging, LAURA E. PELANEK, 03/04-07/2020; NY, NY; ERS Bondholder                    500.00
          depositions.
3/10/20   Economy airfare, LAURA E. PELANEK, 03/04-07/2020; NY, NY; ERS                       343.01
          Bondholder depositions.
3/10/20   B&W Copy                                                                                33.70
3/11/20   Court Fees, ELAN CORPORATE PAYMENT SYSTEMS, 03/11/ 2020                                 70.00
3/11/20   B&W Copy                                                                                23.30
3/13/20   Meal, LANDON S. RAIFORD, 03/03-07/2020; San Juan, PR & NY, NY;                          35.17
          attend hearing and depositions.
3/13/20   Taxis, (3/3 - $11.02, 3/4 - $16.59, $6.54, $10.98 and $77.18, 3/7 - $41.55,         225.36
          $61.50), LANDON S. RAIFORD, 03/03-07/2020; San Juan, PR & NY, NY;
          attend hearing and depositions.
3/13/20   Meals (3/3 - $39.45, 3/4 - $40.00, 3/5 - $60.08, 3/5 - $80.00 (L. Raiford and       219.53
          L. Pelaneck), LANDON S. RAIFORD, 03/03-07/2020; San Juan, PR & NY,
          NY; attend hearing and depositions.
3/13/20   Lodging while in New York City, LANDON S. RAIFORD, 03/03-07/2020;                   500.00
          San Juan, PR & NY, NY; attend hearing and depositions.
3/13/20   Lodging while in Puerto Rico, LANDON S. RAIFORD, 03/03-07/2020; San                 500.00
          Juan, PR & NY, NY; attend hearing and depositions.
3/13/20   Economy Airfare from New York City to Chicago, LANDON S. RAIFORD,                   300.00
          03/03-07/2020; San Juan, PR & NY, NY; attend hearing and depositions.
3/13/20   Economy airfare from San Juan PR to New York City, LANDON S.                        741.00
          RAIFORD, 03/03-07/2020; San Juan, PR & NY, NY; attend hearing and
          depositions.
3/13/20   Economy airfare from Chicago to San Juan PR, LANDON S. RAIFORD,                     784.00
          03/03-07/2020; San Juan, PR & NY, NY; attend hearing and depositions.
3/16/20   Other Professional Services; ALIX PARTNERS LLP; 03/16/2020                        32,421.08
3/16/20   B&W Copy                                                                           1,085.30
3/16/20   03/16/2020 UPS Delivery Service 1Z6134380195485122                                    38.45
3/16/20   03/16/2020 UPS Delivery Service 1Z6134380198858518                                    27.98
3/17/20   Postage Expense                                                                      338.83
3/17/20   Economy airfare, ROBERT D. GORDON, 03/09/2020; San Juan, PR;                         300.00
          attend meeting.


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                                JENNER & BLOCK LLP
                                               353 N. Clark Street
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                                                 (312) 222-9350




  3/17/20   03/17/2020 UPS Delivery Service 1Z6134380190731061                             19.52
  3/17/20   03/17/2020 UPS Delivery Service 1Z6134380191666078                             36.37
  3/18/20   Taxi, CATHERINE L. STEEGE, 03/08-12/20;Boston, MA; 1st Circuit                 11.20
            Argument.
  3/20/20   03/20/2020 UPS Delivery Service 1Z05V0A34494705599                             25.01
  3/27/20   In-City Transportation, MARC A. PATTERSON, 03/16/2020; Prepare                 45.80
            service of notices of fee applications and fee applications.
  3/30/20   Soundpath Teleconferencing 03/02/2020                                      111.41
  3/31/20   Lexis Research                                                             581.64
  3/31/20   Lexis Research                                                             376.15
  3/31/20   Westlaw Research                                                           579.38
  3/31/20   Westlaw Research                                                           103.25
  3/31/20   Internet connectivity inflight, ROBERT D. GORDON, 03/09/2020; San           12.00
            Juan, PR; attend meeting.
  3/31/20   Meals (3/3 - $5.35, 3/4 - $50.80 R. Gordon and H. Mayol), ROBERT D.            56.15
            GORDON, 03/03-05/2020; San Juan, PR; attend meeting.
  3/31/20   Internet connectivity inflight, ROBERT D. GORDON, 03/03-05/2020; San           20.00
            Juan, PR; attend meeting.
  3/31/20   Internet connectivity inflight, ROBERT D. GORDON, 03/03-05/2020; San           17.00
            Juan , PR; attend meeting.
  3/31/20   Lodging, ROBERT D. GORDON, 03/03-05/2020; San Juan , PR; attend            238.13
            meeting.
  3/31/20   Taxis (3/3 - $79.48, 3/5 $24.57) ROBERT D. GORDON, 03/03-05/2020;          104.05
            San Juan, PR; attend meeting.
  3/31/20   Catering, psav, parking and boardroom rental, ROBERT D. GORDON,           1,915.32
            03/03-05/2020; San Juan , PR; attend meeting.
  3/31/20   Catering, psav, parking and boardroom rental, ROBERT D. GORDON,           1,175.11
            03/03-05/2020; San Juan, PR; attend meeting.
            TOTAL DISBURSEMENTS                                                    $ 52,133.73


MATTER 10113 TOTAL                                                                 $ 52,133.73




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                                JENNER & BLOCK LLP
                                               353 N. Clark Street
                                          CHICAGO, ILLINOIS 60654-3456
                                                 (312) 222-9350




EXPENSES                                                                    MATTER NUMBER - 10113


  3/07/20   Other Professional Services; TRANSPERFECT TRANSLATIONS                        2,490.00
            INTERNATIONAL; 03/07/2020; Translation from English to Spanish during
            COR meeting.
  3/17/20   03/17/2020 UPS Delivery Service 1Z6134380395485128                               36.58
  3/19/20   03/19/2020 UPS Delivery Service 1Z6134380391666074                               29.29
  4/01/20   Lodging, ROBERT D. GORDON, 03/03-05/2020; San Juan, PR; attend                  300.00
            meeting.
  4/06/20   Pacer Charges; PACER SERVICE CENTER; 04/06/2020                                  10.70
  4/06/20   Pacer Charges; PACER SERVICE CENTER; 04/06/2020                                   9.30
  4/06/20   Pacer Charges; PACER SERVICE CENTER; 04/06/2020                                  13.30
  4/06/20   Pacer Charges; PACER SERVICE CENTER; 04/06/2020                                  37.40
  4/08/20   B&W Copy                                                                        143.00
  4/10/20   Postage Expense                                                                  79.43
  4/10/20   Color Copy                                                                         .25
  4/10/20   B&W Copy                                                                         40.60
  4/10/20   04/10/2020 UPS Delivery Service 1Z6134380191053266                               19.44
  4/12/20   Other Professional Services; TRANSPERFECT TRANSLATIONS                          995.00
            INTERNATIONAL; 04/12/2020
  4/15/20   Other Professional Services; ALIX PARTNERS LLP; 04/15/2020                     9,411.25
  4/22/20   Court Fees, ELAN CORPORATE PAYMENT SYSTEMS, 04/22/ 2020                           70.00
  4/22/20   Court Fees, ELAN CORPORATE PAYMENT SYSTEMS, 04/22/ 2020                           70.00
  4/26/20   Taxis (x2) ROBERT D. GORDON, 03/09/2020; San Juan, PR; meeting.                  112.99
  4/28/20   03/31/20 Quarterly Pacer Charge                                                    3.20
  4/28/20   03/31/20 Quarterly Pacer Charge                                                   10.00
  4/28/20   03/31/20 Quarterly Pacer Charge                                                   12.50
  4/29/20   Soundpath Teleconferencing 03/31/2020                                             81.00
  4/29/20   SDS Global Logistics 03/04/2020                                                   28.50
  4/30/20   Lexis Research                                                                   567.96
  4/30/20   Westlaw Research                                                               2,378.69
  4/30/20   Westlaw Research                                                                 209.20
            TOTAL DISBURSEMENTS                                                         $ 17,159.58


MATTER 10113 TOTAL                                                                      $ 17,159.58




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                                JENNER & BLOCK LLP
                                               353 N. Clark Street
                                          CHICAGO, ILLINOIS 60654-3456
                                                 (312) 222-9350




EXPENSES                                                                    MATTER NUMBER - 10113


  5/06/20   B&W Copy                                                                          3.70
  5/07/20   Postage Expense                                                                 838.25
  5/07/20   B&W Copy                                                                      1,482.60
  5/07/20   05/07/2020 UPS Delivery Service 1Z6134380192718742                               22.79
  5/07/20   05/07/2020 UPS Delivery Service 1Z6134380192777732                               37.48
  5/07/20   05/07/2020 UPS Delivery Service 1Z6134380194254721                               37.48
  5/07/20   05/07/2020 UPS Delivery Service 1Z613438NT91477750                               16.96
  5/08/20   B&W Copy                                                                      1,098.50
  5/17/20   Other Professional Services; TRANSPERFECT TRANSLATIONS                          995.00
            INTERNATIONAL; 05/17/2020; Translation from English to Spanish during
            COR meeting.
  5/18/20   Other Professional Services; ALIX PARTNERS LLP; 05/18/2020                    10,156.00
  5/22/20   B&W Copy                                                                          78.80
  5/26/20   Color Copy                                                                          .25
  5/26/20   B&W Copy                                                                          28.70
  5/27/20   B&W Copy                                                                           5.70
  5/27/20   05/27/2020 UPS Delivery Service 1Z613438NT97255050                                14.53
  5/28/20   B&W Copy                                                                          80.10
  5/31/20   Lexis Research                                                                   334.76
  5/31/20   Westlaw Research                                                                 275.10
  5/31/20   Westlaw Research                                                                 586.04
  5/31/20   Westlaw Research                                                                  70.15
            TOTAL DISBURSEMENTS                                                         $ 16,162.89


MATTER 10113 TOTAL                                                                      $ 16,162.89




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